          Case 2:19-cv-00217-WKW-SMD Document 1 Filed 03/27/19 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                  MIDDLE DISTRICT OF ALABAMA                                    e r- rnt
                                                                                               0' c" L.)
                                     korOw                   _      DIVISION
                                                                                1E9 MAR 21 P 1:214
                                                       )                        DEBRA P. HACKETT. C.LK
                                                       )                             DiSTRICT COURT
          Plaintiff(s),
                                                       )         CIVIL A(.710 Nn..
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                                                       )         JURY DEMAND(MA       ONE)
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                                                                   YES     ONO
      SI-C1             AlColzOr/\                     )
                                                       )
                                                       )
          Defendant(s).

                                                  COMPLAINT

1.        Plaintif s'address and telephoneii,_11 oer:
                                      rAmem.




2,        Name and address of defendant(s): ,S1a            tc. Q.) r k.iahaM
              &,44/.1     CourPiaosce                      si_ck,-,tenac



3.        Place of alleged violation of civil rights:


4..       Date of alleged violation of civil righw FA/1J aj 2,6.20 13

5.       State the facts on which you base your allegation that your constitutional rights have been
         violated:         11 int.-AM pn bRvr tee/) U,°r) /en(
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      Case 2:19-cv-00217-WKW-SMD Document 1 Filed 03/27/19 Page 2 of 2



6.    Relief requested:              Chom   ;nr_l(fell Cort li;r71,AS Rferred
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Date: S12'Z42o A                             gua,1-(2         rim/ d_ Le
                                           Plaintiff(s) Signature




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